                         Case 3:16-bk-03913-JAF                 Doc 16       Filed 11/09/17          Page 1 of 2
                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 16-03913-JAF
Lilly Josephine Real                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-3                  User: leel                         Page 1 of 1                          Date Rcvd: Nov 07, 2017
                                      Form ID: Dntchrg                   Total Noticed: 3


Notice by first class      mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 09, 2017.
db            #+Lilly      Josephine Real,    10023 Belle Rive Blvd. Apt 1303,   Jacksonville, FL 32256-9580
cr             +Frank      Polo,    1475 SW 8th St,   Apt 411,   Miami, Fl 33135-3891
26851870       +Frank      E. Polo,    9619 Fontainebleau Blvd.,   Apt. 317,   Miami, FL 33172-6870

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 09, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 7, 2017 at the address(es) listed below:
              Alexander G. Smith    alex@agsmithtrustee.com, FL52@ecfcbis.com
              Collette B Cunningham    on behalf of Defendant   United States Of America
               Collette.Cunningham@usdoj.gov,
               dajana.mihaljevic@usdoj.gov;dee.jackson@usdoj.gov;Chantal.sabino@usdoj.gov
              Edward P Jackson   on behalf of Plaintiff Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com
              Edward P Jackson   on behalf of Debtor Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com
              United States Trustee - JAX 13/7    USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 5
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[Dntchrg] [District Notice of Hearing]
                                          UNITED STATES BANKRUPTCY COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                               JACKSONVILLE DIVISION



In re:                                                                             Case No. 3:16−bk−03913−JAF
                                                                                   Chapter 7
Lilly Josephine Real
fka Lilliana Maria Real




________Debtor*________/

                                            NOTICE OF PRELIMINARY HEARING

               NOTICE IS GIVEN THAT:

           1. A preliminary hearing in this case will be held on November 15, 2017 , at 01:30 PM in 300 North
           Hogan Street, 4th Floor − Courtroom 4D, Jacksonville, FL 32202 on the following matter:

           Motion to Dismiss/Withdraw Document re: Motion for Sanctions Against Creditor Frank Polo, for Lack
           of Personal Jurisdiction, Improper Venue, and Motion to Quash for Defective Service of Process and for
           Violation of Due Process (Document No. 14) filed by Creditor Frank Polo
           2. The Court may continue this matter upon announcement made in open court without further notice.
           3. Any party opposing the relief sought at this hearing must appear at the hearing or any objections or
           defenses may be deemed waived.
           4. Avoid delays. You are reminded that Local Rule 5073−1 restricts the entry of cellular telephones and,
           except in Orlando, computers into the Courthouse absent a specific order of authorization issued
           beforehand by the presiding judge, a valid Florida Bar identification card, or pro hac vice order. Please
           take notice that as an additional security measure a photo ID is required for entry into the Courthouse.




                                                   FOR THE COURT
           Dated: November 7, 2017                 Sheryl L. Loesch , Clerk of Court
                                                   300 North Hogan Street Suite 3−150
                                                   Jacksonville, FL 32202


           The Clerk's office is directed to serve a copy of this notice on interested parties.


           *All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
           individuals.
